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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


       ASYLUMWORKS, et al.,

                      Plaintiffs,
                                                         No. 2020-cv-03815-BAH
       v.

       ALEJANDRO N. MAYORKAS, in his
       official capacity as the Secretary of
       Homeland Security, et al.,


                      Defendants.



    NOTICE OF SUPPLEMENTAL AUTHORITY TO PLAINTIFFS’ MOTION FOR
                    PARTIAL SUMMARY JUDGMENT

       Plaintiffs hereby notify the Court of a recent decision by Judge Jeffrey S. White in the

Northern District of California granting summary judgment to the plaintiffs, and vacating a final

rule, on the basis that purported former Acting Secretary of the Department of Homeland Security

Chad Wolf lacked authority to issue the rule because he “was not lawfully appointed as Acting

Secretary at the time the Final Rule was approved.” See Chamber of Commerce v. DHS, No. 20-

CV-07331-JSW, 2021 WL 4198518, *4–5 (N.D. Cal. Sept. 15, 2021). A copy of the decision is

attached. This decision cited and followed the six federal court decisions and GAO decision ruling

that Mr. Wolf’s appointment was not lawful, all of which were cited in Plaintiffs’ briefing.1 Id.




1
   See Dkt. 31 at 4 n.3 (citing Dkt. 25-4 at 82-93; Behring Reg’l Ctr. LLC v. Wolf, No. 20-cv-
09263, 2021 WL 2554051 (N.D. Cal. Jun. 22, 2021); Pangea Legal Servs. v. U.S. Dep’t of
Homeland Sec., 512 F. Supp. 3d 966, 971-73 (N.D. Cal. 2021); La Clinica De La Raza v. Trump,
No. 19-cv-4980, 2020 WL 7053313, at *7-*9 (N.D. Cal. Nov. 25, 2020); Batalla Vidal v. Wolf,
501 F. Supp. 3d 117, 123 (E.D.N.Y. 2020); Immigrant Legal Res. Ctr. v. Wolf, 491 F. Supp. 3d
520, 529-36 (N.D. Cal. 2020); Casa de Maryland, Inc. v. Wolf, 486 F. Supp. 3d 928, 954-60 (D.
Md. 2020), appeal dismissed, No. 20-2217, Dkt. 23 (4th Cir. Mar. 23, 2021)).

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The Chamber of Commerce decision supplements Plaintiffs’ argument that the EAD Bar Rule and

Timeline Repeal Rule are invalid because Mr. Wolf did not serve as Acting Secretary of DHS at

the time both Rules were approved, and that the proper remedy is vacatur. Dkt. 25-1 at 23-26, 43-

45; Dkt. 31 at 4-19.




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Dated: October 5, 2021                           Respectfully submitted,

                                            By: /s/ Keren Zwick

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                                                     case, including the amicus brief filed by U.S.
            2021 WL 4198518                          Tech Workers in support of DHS's motion,
         Only the Westlaw citation                   and the parties’ arguments at the hearing held
          is currently available.                    on September 10, 2021. The Court HEREBY
          United States District                     GRANTS Plaintiffs’ motion and DENIES
          Court, N.D. California.                    DHS's cross-motion.

      CHAMBER OF COMMERCE
     OF THE UNITED STATE OF
                                                                     BACKGROUND
       AMERICA, et al., Plaintiffs,
                   v.                                A. Procedural History.
    UNITED STATES DEPARTMENT                         On October 19, 2020, Plaintiffs filed their
     OF HOMELAND SECURITY,                           original complaint and asked the Court to
          et al., Defendants.                        set aside two interim final rules promulgated
                                                     by DHS and by the Department of Labor:
         Case No. 20-cv-07331-JSW
                                                     Strengthening Wage Protections for the
                     |
                                                     Temporary and Permanent Employment of
                09/15/2021
                                                     Certain Aliens in the United States, 85 Fed.
                                                     Reg. 63,872 (Oct. 8, 2020) (“DOL IFR”);
JEFFREY S. WHITE, United States District             Strengthening the H-1B Nonimmigrant Visa
Judge                                                Classification Program, 85 Fed. Reg. 63,918
                                                     (Oct. 8, 2020) (“DHS IFR”).

 ORDER GRANTING PLAINTIFFS’                          The Plaintiffs moved for a preliminary
MOTION FOR SUMMARY JUDGMENT                          injunction and for partial summary judgment
   AND DENYING DEFENDANTS’                           on their claims that Defendants violated
 CROSS-MOTION FOR SUMMARY                            the Administrative Procedure Act's (“APA”)
  JUDGMENT Re: Dkt. Nos. 140, 144                    notice and comment procedures. The parties
                                                     subsequently stipulated to advance the trial
 *1 Now before the Court for consideration
                                                     on the merits of those claims, pursuant to
are the cross-motions for summary judgment
                                                     Federal Rule of Civil Procedure 65(a)(2), and
filed by Plaintiffs 1 and Defendants, United         stipulated to stay the Defendants’ obligation
States Department of Homeland Security               to respond to the remaining claims. (Dkt. No.
(“DHS”) and Alejandro Mayorkas, in his               51.) The notice and comment claims required
official capacity as Secretary of Homeland           the Court to consider whether “good cause”
Security (“Secretary Mayorkas”) (collectively        existed to excuse the APA's normal notice and
“DHS”). 2                                            comment period. DHS and DOL each relied
                                                     on the COVID-19 pandemic to support the
The Court has considered the parties’ papers,        position that good cause existed. The parties
relevant legal authority, the record in this         also agreed the Court could rely solely on the


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interim final rules and materials cited therein as   On April 7, 2019, former DHS Secretary
the administrative record.                           Kirstjen M. Nielsen announced her resignation
                                                     and left office on April 10, 2019. President
On December 1, 2020, the Court granted               Trump did not nominate a replacement until
Plaintiffs’ motion and denied Defendants’            September 10, 2020, when he nominated Chad
cross-motion, set aside the interim final rules,     H. Wolf (“Mr. Wolf”) for the position. The facts
and entered partial judgment on the notice           surrounding Mr. Wolf's accession to the role of
and comment claims, pursuant to Federal Rule         Acting Secretary of DHS are set forth in the
of Civil Procedure 54(b). See Chamber of             Court's order granting a preliminary injunction
Commerce v. U.S. Dep't of Homeland Sec., 504         in Immigrant Legal Rights Center v. Wolf, and
F. Supp. 3d 1077 (N.D. Cal. 2020). Defendants        the Court shall not repeat then in detail here.
did not appeal that decision.                           491 F. Supp. 3d 520, 531-33 (N.D. Cal. 2020)
                                                     (“ILRC”).
On March 19, 2021, Plaintiffs filed an amended
complaint (“FAC”) and a notice of filing,            In brief, before Secretary Neilsen resigned,
which included a request for leave to amend          she issued an order that purported to amend
or to supplement under Rule 15. Plaintiffs           the order of succession for Acting Secretary
dropped their claim against the DHS IFR              pursuant to authority granted to her by the
and asserted claims challenging the DOL's
                                                     Homeland Security Act, 6 U.S.C. section
final rule, Strengthening Wage Protections for
                                                     113(g)(2) (the “April 9 Order”). The purported
the Temporary and Permanent Employment
                                                     amendment had the effect of promoting Kevin
of Certain Aliens in the United States, 86
                                                     McAleenan to the role of Acting Secretary.
Fed. Reg. 3,608 (Jan. 14, 2021) (the “DOL
                                                     Mr. McAleenan putatively served as Acting
Final Rule”), and a new and different rule
                                                     Secretary from April 10, 2019, until November
promulgated by DHS, which affects the
                                                     13, 2019, when he resigned. On or about
manner in which H-1B visa applications will
                                                     November 8, 2019, Mr. McAleenan issued
be processed: Modification of Registration
                                                     an order that purported to further amend the
Requirement for Petitioners Seeking to File
                                                     order of succession, which promoted Mr. Wolf
Cap-Subject H-1B Petitions, 86 Fed. Reg. 1676
                                                     to the position of Acting Secretary. Id. at
(Jan. 8, 2021) (the “Final Rule”). 3
                                                     529-33. In that capacity, Mr. Wolf “reviewed
                                                     and approved” the Final Rule and “delegate[ed]
 *2 On April 15, 2021, over DHS's objection,
                                                     the authority to electronically sign [the Final
the Court granted Plaintiffs leave to file the
                                                     Rule] to Ian J. Brekke, … the Senior Official
FAC. (Dkt. Nos. 79-80, 91.) The parties now
                                                     Performing the Duties of the General Counsel
move for summary judgment on the claims
                                                     for DHS, for purposes of publication in the
relating to the Final Rule.
                                                     Federal Register.” 86 Fed. Reg. at 1732; see
                                                     also id. at 1735.
B. Factual Background.
                                                     The H-1B visa category enables employers
                                                     in the United States to hire qualified foreign

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professionals in specialty occupations. See     8     *3 Individuals “who are subject to the
                                                     [visa cap] shall be issued visas (or otherwise
U.S.C. §§ 1184(i)(1),     1101(a)(15)(H)(i)(b);
                                                     provided nonimmigrant status) in the order
see also     8 C.F.R. § 214.2(h)(4)(ii). An          in which petitions are filed for such visas
employer must certify that it will pay an H-1B       or status.” Id., § 1184(g)(3). However, the
employee “wages that are at least – … the            number of petitions filed each year regularly
actual wage level paid by the employer to all        exceeds the visa cap. See 86 Fed. Reg. at
other individuals with similar experience and        1,717-18 table 3, and 1,717 n.164. Petitions
qualifications for the specific employment in        also arrive simultaneously. Therefore, over
question; or … the prevailing wage level for         the years, DHS has adopted various rules to
the occupational classification in the area of       address those issues. Pertinent to this case
employment.” 8 U.S.C. § 1182(n)(1)(A)(i)             is the process that has become known as
(I)-(II); see also 20 C.F.R. § 655.731(a).           the “H-1B Visa Lottery.” Under that process,
                                                     DHS would randomly select from petitions it
As of April 2019, in order to petition for an        received during the first five business days after
H-1B visa, an employer must first register with      it began to accept petitions. Those petitions
DHS. See 8 C.F.R. § 214.2(h)(8)(iii)(A)(1).          would be deemed filed, and DHS would reject
If the registration is selected, the employer        the rest and return them to the petitioners. See,
submits a petition in “such form and containing      e.g., Registration Requirement for Petitioners
such information” as prescribed by the               Seeking to File H-1B Petitions on Behalf of
Secretary of DHS, who approves or denies the         Cap-Subject Aliens, 84 Fed. Reg. 888, 894 (Jan.
petition “after consultation with the appropriate    31, 2019). 5
agencies of the Government.”         8 U.S.C. §
1184(c)(1). 4 Subject to some exceptions, the        Under the procedures adopted in April
number of H-1B visas approved each year is           2019, DHS initiated the registration process.
capped at 65,000, with an additional 20,000          When DHS receives more registrations than
visas approved for foreign graduates of U.S.         necessary during the initial registration period
master's or higher degree graduate programs.         it “will randomly select from among the
                                                     registrations properly submitted during the
  Id. §§ 1184(g)(1)(A)(vii), 1184(g)(5)(C).
                                                     initial registration period the number of
Individuals employed by, or who have received
                                                     registrations deemed necessary to meet the
an offer of employment from, an institution
                                                     H-1B regular cap” by computer generated
of higher education, a nonprofit entity related
to or affiliated with an institution of higher       selection. 8 C.F.R. § 214.2(h)(8)(iii)(A)(5)
education, and nonprofit research organizations      (ii). Under this procedure, the H-1B Visa
and government research organizations are            Lottery remained based on a random selection
                                                     of the registrations filed.
exempted from the cap.      Id. § 1184(g)(5)(A)-
(B).
                                                     However, under the Final Rule, when the
                                                     number of registrations exceeds the number
                                                     necessary to fill the H-1B visa caps,


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DHS “will rank and select the registrations           Court “determines whether or not as a matter
received generally on the basis of the                of law the evidence in the administrative record
highest [Occupational Employment Statistics           permitted the agency to make the decision it
(OES)] wage level that the proffered wage             did.” Id. The APA permits a court to, inter alia,
equals or exceeds for the relevant [Standard          “hold unlawful and set aside agency action,
Occupational Classification] code in the area         findings and conclusions found to be - arbitrary,
of intended employment, beginning with OES            capricious, an abuse of discretion, or otherwise
wage level IV and proceeding in descending            not in accordance with law.”          5 U.S.C. §
order with OES wage levels III, II, and I. The        706(2)(A).
proffered wage is the wage that the employer
intends to pay the beneficiary.” 86 Fed. Reg.
at 1677; see also     8 C.F.R. § 214.2(h)(8)(iii)     A. Standing and Zone of Interests.
                                                       *4 In addition to Article III standing, a
(A)(5) effective Dec. 31, 2021. 6 Simply put,
                                                      plaintiff bringing claims under the APA must
instead of randomly selecting registrations for
                                                      show they fall within the “zone of interests to
filing, DHS will now prioritize registrations for
                                                      be protected or regulated by the statute” they
filing and the issuance of H-1B visas for the
most highly-paid positions within their SOC.          claim was violated. Match-E-Be-Nash-She-
                                                      Wish Band of Pottawatomi Indians v. Patchak,
In their second claim for relief, Plaintiffs allege   567 U.S. 209, 224 (2012) (quoting Ass'n of
the Final Rule conflicts with the Immigration         Data Processing Serv. Orgs., Inc. v. Camp, 397
and Nationality Act and is arbitrary and              U.S. 150, 153 (1970)). That test “is not meant
capricious. In their third claim for relief,          to be especially demanding” and will foreclose
Plaintiffs allege the Final Rule must be set aside    a suit “only when a plaintiff's ‘interests are so
because Mr. Wolf was not lawfully serving as          marginally related to or inconsistent with the
Acting Secretary of DHS at the time the rule          purposes implicit in the statute that it cannot
was promulgated.                                      reasonably be assumed that Congress intended
                                                      to permit the suit.’ ”      Id., 567 U.S. at 225
The Court will address additional facts as
                                                      (quoting Clarke v. Sec. Indus. Ass'n, 479 U.S.
necessary in the analysis.
                                                      388, 399 (1987)).

                                                      Although neither party addressed the issue of
                    ANALYSIS                          Article III standing or Plaintiffs’ ability to
                                                      satisfy the zone of interests test, the H-1B visa
In the context of the APA, the Court does             cap does not apply to individuals employed
not follow the traditional summary judgment           by or who receive offers of employment from
analysis set forth in Federal Rule of Civil           institutions of higher learning. Accordingly,
Procedure 56. That is because “there are no           the Court raised the ability of the university
disputed facts that the district court must           Plaintiffs’ zone of interests issue at the hearing.
resolve.” Occidental Eng'g Co. v. INS, 753            Plaintiffs referred the Court to the declaration
F.2d 766, 769 (9th Cir. 1985). Instead, the

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of Miriam Feldblum, submitted in connection          Hughes Decl., Ex. 2 (U.S. Gov't Accountability
with their motion challenging the DHS IFR.           Office, Department of Homeland Security –
(Dkt. No. 31-8.) Ms. Feldblum stated that            Legality of Service of Acting Secretary of
the opportunity to participate in the H-1B           Homeland Security and Service of Senior
visa program is a factor that international          Official Performing the Duties of Deputy
students take into consideration when deciding       Secretary of Homeland Security 6-11 (Aug. 14,
where to study. (Feldblum Decl., ¶ 8.) She           2020) (“GAO Decision”)).
attested that the changes to the H-1B visa
program addressed in the DHS IFR would               Since then, a number of other courts also
deter international students from enrolling in       have determined that Mr. McAleenan and Mr.
universities and other institutions of higher        Wolf not acting with lawful authority. See
learning, which would negatively impact                 Behring Reg'l Ctr. LLC v. Wolf, No. 20-
those institutions financially and socially. (Id.)   cv-9263-JSW, 2021 WL 2554051, at *4-*5
Plaintiffs argue that by prioritizing wage levels    (N.D. Cal. June 22, 2021); E. Bay Sanctuary
it is less likely that recent graduates would        Covenant v. Barr, 19-cv-4073-JST, -- F. Supp.
be able to obtain an H-1B visa. The Court            3d --, 2021 WL 607869, at *4 (N.D. Cal. Feb.
concludes that Plaintiffs have demonstrated          16, 2021); Panagea Legal Servs. v. U.S. Dep't
they have Article III standing and have              of Homeland Sec., 243 F. Supp. 3d 1156, 973
demonstrated they satisfy the zone of interests      (N.D. Cal. 2021); Battalla Vidal v. Wolf, 501
test.                                                F. Supp. 3d 117, 131-32 (E.D.N.Y. 2020); La
                                                     Clinica de la Raza v. Trump, No. 19-cv-4980-
                                                     PJH, -- F. Supp. 3d --, 2020 WL 6940934, at
B. The Court Concludes Mr. Wolf Was Not
                                                     *13-14 (N.D. Cal. 2020) (“La Clinica de la
Lawfully Serving as Acting Secretary.
                                                     Raza II”); Nw. Immigrant Rights Project v. U.S.
Plaintiffs argue the Final Rule must be set aside
                                                     Citizenship and Immigr. Servs., 496 F. Supp. 3d
because Mr. Wolf was not lawfully appointed as
Acting Secretary at the time DHS promulgated
the rule. 7 In ILRC, the Court concluded the         31, 55-70 (D.D.C. 2020) (“NIRP”). 8
plaintiffs were likely to succeed on the merits of    *5 With one exception, DHS “recycle[d]
their claim that Mr. Wolf's appointment was          exactly the same legal and factual claims made
not lawful. 491 F. Supp. 3d at 533-36. At that       in the prior cases, as if they had not been
time, two other district courts had considered       soundly rejected in well-reasoned opinions[.]”
and rejected DHS's arguments, as had the             Panagea, 512 F. Supp. 3d at 973. 9 It also did
Government Accountability Office (“GAO”).            not offer any new facts or legal argument at
See    Casa de Maryland, Inc. v. Wolf, 486 F.        the hearing. Accordingly, for the reasons set
Supp. 3d 928 (D. Md. 2020); La Clinica               forth in ILRC, the Court concludes that when
de la Raza v. Trump, 477 F. Supp. 3d 951,            Secretary Nielsen issued the April 9 Order,
970-72 (N.D. Cal. 2020) (“La Clinica de la           she did not amend the order of succession in
Raza I”); Dkt. No. 140-1, Declaration of Paul        the event of her resignation. Therefore, the
Hughes (“Hughes Decl.”), ¶ 2; Dkt. No. 140-3,        order of succession set forth in Executive Order


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13753 still governed, and Mr. McAleenan was          must be set aside. In light of this ruling, the
not lawfully elevated to the position of Acting      Court does not reach Plaintiffs’ alternative
                                                     arguments. Accordingly, the Court vacates the
Secretary. ILRC, 491 F. Supp. 3d at 533-36.
                                                     Final Rule and remands this matter to DHS. The
Because he was not lawfully appointed, Mr.
                                                     Court shall enter a separate judgment, and the
McAleenan's subsequent attempts to amend the
                                                     Clerk shall close the file.
order of succession and to elevate Mr. Wolf
to Acting Secretary also were not valid. Id.
                                                     IT IS SO ORDERED.
This Court's ruling is further supported by the
persuasive reasoning set forth in Panagea, 512
F. Supp. 3d at 974, Battalla Vidal, 501 F. Supp.     Dated: September 15, 2021
3d at 131-32, and La Clinica de la Raza II, 2020
WL 6940934, at *13-14.                               JEFFREY S. WHITE

DHS confirmed at the hearing that Secretary          United States District Judge
Mayorkas has not ratified the Final Rule.
                                                     All Citations
Because Mr. Wolf was not lawfully appointed
as Acting Secretary at the time the Final Rule       Slip Copy, 2021 WL 4198518
was approved, the Court concludes the rule



                                            Footnotes

1    Plaintiffs are: Chamber of Commerce of the United States of America, Bay
     Area Council, National Retail Federation, American Association of International
     Healthcare Recruitment, Presidents’ Alliance on Higher Education and Immigration,
     California Institute of Technology, Cornell University, The Board of Trustees of
     Leland Stanford Junior University, University of Southern California, University of
     Rochester, University of Utah, and ARUP Laboratories.
2    Secretary Mayorkas was automatically substituted as the defendant in lieu of
     putative Acting Secretary Chad H. Wolf pursuant to Federal Rule of Civil Procedure
     25.
3    The parties subsequently stipulated to a voluntary remand with vacatur of the DOL
     Final Rule. (Dkt. No. 139.)
4    Although the INA refers to the Attorney General, that reference is deemed to refer
     to the Secretary of DHS pursuant to the transfer of immigration authority to DHS.
     See 6 U.S.C. §§ 557, 202.
5    See also Walker Macy LLC v. U.S. Citizenship and Immigr. Servs., 243 F. Supp. 3d
     1156, 1163-64 (D. Ore. 2017).



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6    Since 2004, those levels have been set as follows: Level I – 17th percentile; Level
     II – 34th percentile; Level III – 50th percentile; and Level IV – 67th percentile. The
     DOL Final Rule would have increased the percentiles associated with these wage
     levels. See Chamber of Commerce, 504 F. Supp. 3d at 1085.
7    During the notice and comment procedure, DHS received comments that challenged
     Mr. Wolf's authority. See 86 Fed. Reg. at 1693. DHS stated it “disagree[d]” with the
     comments and relied on many of the same arguments raised here. Id. at 1693-94.
8    The court in NIRP reached the same outcome for different reasons.
9    DHS no longer relies the argument that a memorandum issued by FEMA
     Administrator Peter Gaynor cured any deficiencies in Mr. Wolf's appointment. (See
     DHS Cross-Mot. at 11 n.10.) Because DHS has abandoned that argument, the
     Court concludes the court's analysis in NIRP of Mr. Gaynor's actions and Mr. Wolf's
     subsequent ratification of actions taken prior to September 10, 2020 do not impact
     its analysis. See NIRP, 496 F. Supp. 3d at 57-58.

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